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    VIA EMAIL: Dan_Polster@ohnd.uscourts.gov
    July 5, 2018
    Hon. Dan Aaron Polster
    United States District Judge
    Northern District of Ohio
    Carl B. Stokes United States Court House
    801 West Superior Avenue
    Cleveland, OH 44113-1837
           Re: In Re: National Prescription Opiate Litigation, Case No.1:17-MD-2804
    Dear Judge Polster:
           We write as Co-Lead Counsel for Plaintiffs to address concerns that have
    arisen regarding ARCOS data.
             The Court has expressly recognized that “plaintiffs retain the right to move
    to file further amended pleadings if deemed appropriate, such as because additional
    defendants were identified by ARCOS data.” MDL Docket, Doc # 371 at 1-2. The
    Court has further suggested that it may set a deadline of 120 days for amendments
    to add new defendants. Because the statute of limitations may continue to run with
    respect to some claims against some or all parties who may be named as defendants,
    plaintiffs in cases other than the Track One cases have expressed interest in
    amending their complaints promptly and, in aid of such amendments, have begun
    requesting ARCOS data to assist in their identification of defendants appropriately
    named in their particular jurisdictions. This is also true for plaintiffs, including state
    Attorneys General, who have filed, or are contemplating filing, cases in state courts
    around the country. 1 In addition, the availability of the information may prompt
    jurisdictions that have not filed claims to seek ARCOS data in order to do so. We
    anticipate that as many as 900 jurisdictions may request that we provide ARCOS
    data over the next 120 days. In many, if not most, instances, plaintiffs are unable to
    ensure that they have named all potentially responsible parties without access to


1The Court has directed that “[u]se of the ARCOS database shall be limited to this litigation and
for State and local law enforcement purposes only.” MDL Docket, Doc. # 233 at 22; see also Doc.
#167 at 1 (“disclosure may be made to the governmental Plaintiffs, which includes cities, counties
and Native American tribes, for this litigation and/or law enforcement purposes, and disclosure
may be made to State Attorneys General for litigation and law enforcement purposes.”). State
and local governmental units are all involved in law enforcement with respect to opioids and the
PEC understands that this language may include all local governmental entities who request
ARCOS data for use in litigation as part of their enforcement efforts.
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  the information in the ARCOS data.
         The volume of these requests presents two distinct issues that we wish to
  bring to the Court’s attention. The first issue is that responding to 900 requests for
  specific ARCOS data will be an expensive and time-consuming process for the PEC.
  Although we have created a database with the ARCOS information and can run
  jurisdiction-specific reports, processing the requests, running the reports, and
  providing administrative and technical support to those receiving them will
  nonetheless occupy substantial time and, unless additional staff is hired, deflect
  personnel from tasks necessary to prepare the Track One cases. Nor is there a
  common-benefit procedure for us to recoup these costs for non-MDL cases.
  Accordingly, we request the Court’s permission to charge all entities with non-MDL
  cases other than state Attorneys General a reasonable fee, to be determined by the
  PEC and submitted to the Court for approval, for providing ARCOS data reports.
          Our second concern is, perhaps, less easily addressed. As noted, we expect
  the number of request for ARCOS data to number in the many hundreds, including
  local governmental entities throughout the country. As required by the Court, each
  of these entities, and their counsel, will be required to read the Court’s Protective
  Order and sign the Acknowledgement of Protective Order and Agreement to Be
  Bound. Nonetheless, we are concerned that information distributed so widely and
  made available to so many people may not, in fact, remain confidential. It seems
  likely to us that each additional recipient of this information increases the risk that
  some of the information will be leaked, and makes it more difficult to identify the
  source of any leak. We believe it would be appropriate to apprise the Defendants
  as well as the Drug Enforcement Administration of this risk before we begin
  disseminating the information around the country; to solicit their views on how to
  protect this information; and to explore with them, and with the Court, alternatives,
  if any, to this widespread dissemination.
                                          Respectfully,
                                          /s/
                                          Paul J. Hanly, Jr.

                                          /s/
                                          Joseph F. Rice

                                          /s/
                                          Paul T. Farrell, Jr.

                                          Co-Lead Plaintiffs’ Counsel – MDL 2804
